Case 3:19-cv-01715-JO-AHG Document 141 Filed 04/15/22 PageID.2873 Page 1 of 6



       LAW OFFICES OF RONALD                       BURSOR & FISHER, P.A.
   1   A. MARRON                                   L Timothy Fisher (SBN 191626)
       RONALD A. MARRON (SBN 175650)               Sean L. Litteral (SBN 331985)
   2   ron@consumersadvocates.com                  1990 North California Blvd., Suite 940
   3   MICHAEL T. HOUCHIN (SBN 305541)             Walnut Creek, CA 94596
       mike@consumersadvocates.com                 Telephone: (925) 300-4455
   4   LILACH HALPERIN (SBN 323202)                Facsimile: (925) 407-2700
       lilach@consumersadvocates.com               E-mail: ltfisher@bursor.com
   5   651 Arroyo Drive                                    slitteral@bursor.com
       San Diego, CA 92103
   6   Tel: (619) 696-9006
       Fax: (619) 564-6665
   7
       LAW OFFICE OF ROBERT L. TEEL
   8   ROBERT L. TEEL (SBN 127081)
       lawoffice@rlteel.com
   9   1425 Broadway, Mail Code: 20-6690
       Seattle, Washington 98122
  10   Tel: (866) 833-5529
       Fax: (855) 609-6911
  11
  12   Interim Class Counsel

  13                     UNITED STATES DISTRICT COURT
  14                   SOUTHERN DISTRICT OF CALIFORNIA
  15
       TODD HALL, KEVIN BRANCA, and               Case No. 3:19-cv-01715-JO-AHG
  16
       GEORGE ABDELSAYED individually
  17   and on behalf of all others similarly      PLAINTIFFS’ MOTION TO FILE
  18   situated,                                  DOCUMENTS UNDER SEAL
                         Plaintiffs,
  19                                               Judge: Hon. Jinsook Ohta
  20   v.
  21
       MARRIOTT INTERNATIONAL, INC.,
  22   a Delaware corporation;
  23
                       Defendant.
  24
  25
  26
  27
  28



                            Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
                                          PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
Case 3:19-cv-01715-JO-AHG Document 141 Filed 04/15/22 PageID.2874 Page 2 of 6




   1                                  I.       INTRODUCTION
   2         Plaintiffs Todd Hall and George Abdelsayed (“Plaintiffs”) hereby move this
   3   Court, pursuant to Local Civil Rule 79.2 and the Stipulated Protective Order in this
   4   matter (Dkt. No. 44), to allow Plaintiffs’ counsel to file certain documents under seal
   5   in support of their forthcoming Motion for Partial Summary Judgment and Motion
   6   for Class Certification.
   7         For the reasons set forth below, the Court should grant Plaintiffs’ Motion to
   8   File Documents Under Seal. Alternatively, the Court should order Defendant
   9   Marriott International, Inc. (“Marriott”) to show cause as to why the documents
  10   should be kept under seal.
  11                               II.       LEGAL STANDARD
  12         It is well established that there is a “general right to inspect and copy public
  13   records and documents, including judicial records and documents.” Nixon v. Warner
  14   Commc’ns, Inc., 435 U.S. 589, 597 & n. 7 (1978). A party seeking to file documents
  15   under seal “bears the burden of overcoming [the] strong presumption” in favor of
  16   public access to court records. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d
  17   1092, 1096 (9th Cir.), cert. denied sub nom. FCA U.S. LLC v. Ctr. for Auto Safety,
  18   137 S. Ct. 38 (2016) (quotations omitted). “The presumption of access is ‘based on
  19   the need for federal courts, although independent—indeed, particularly because they
  20   are independent—to have a measure of accountability and for the public to have
  21   confidence in the administration of justice.’” Id. at 1096. “Unless a particular court
  22   record is one traditionally kept secret, a strong presumption in favor of access is the
  23   starting point.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir.
  24   2006).
  25         Courts apply the “compelling reasons” standard when determining whether
  26   documents in support of a dispositive motion should be filed under seal. See
  27   Kamakana, 477 F.3d at 1178. Because a Motion for Summary Judgment is
  28   dispositive, courts apply the “compelling reasons” standard. Ctr. for Auto Safety v.
                                                     -1-
                                  Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
                                                PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
Case 3:19-cv-01715-JO-AHG Document 141 Filed 04/15/22 PageID.2875 Page 3 of 6




   1   Chrysler Grp., LLC, 809 F.3d 1092, 1098 (9th Cir. 2016). “What constitutes a
   2   “compelling reason” is “best left to the sound discretion of the trial court.” Id. at
   3   1097. Relevant factors to consider in determining whether compelling reasons exist
   4   “include the ‘public interest in understanding the judicial process and whether
   5   disclosure of the material could result in improper use ...’” Algarin v. Maybelline,
   6   LLC, 12CV3000 AJB DHB, 2014 WL 690410, *2 (S.D. Cal. Feb. 21, 2014) (quoting
   7   Pintos v. Pacific Creditors Ass'n, 605 F.3d 665, 659 (9th Cir. 2010). “In general,
   8   ‘compelling reasons’ sufficient to outweigh the public's interest in disclosure and
   9   justify sealing court records exist when such ‘court files might have become a
  10   vehicle for improper purposes,’ such as the use of records to gratify private spite,
  11   promote public scandal, circulate libelous statements, or release trade secrets.” Id.
  12   “But ‘the mere fact that the production of records may lead to a litigant's
  13   embarrassment, incrimination, or exposure to further litigation will not, without
  14   more, compel the court to seal its records.” Shimmick Const. Co./Obayashi Corp. v.
  15   Officine Meccaniche Galletti-O.M.G. S.R.L., No. 13-CV-2700-BAS JLB, 2015 WL
  16   5827396, at *1 (S.D. Cal. Oct. 5, 2015) (internal quotation omitted).
  17                                 III.     ARGUMENT
  18         Plaintiffs seek to file the following documents under seal:
  19            1) Unredacted Memorandum of Points and Authorities in Support of
  20                Plaintiffs’ Motion for Partial Summary Judgment;
  21            2) Unredacted Separate Statement of Undisputed Material Facts in
  22                Support of Plaintiffs’ Motion for Partial Summary Judgment;
  23            3) Unredacted Declaration of Michael T. Houchin in Support of
  24                Plaintiffs’ Motion for Partial Summary Judgment (“Houchin
  25                Declaration”);
  26            4) Exhibit 1 attached to the Houchin Declaration;
  27            5) Exhibit 2 attached to the Houchin Declaration;
  28            6) Exhibit 3 attached to the Houchin Declaration;
                                                 -2-
                              Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
                                            PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
Case 3:19-cv-01715-JO-AHG Document 141 Filed 04/15/22 PageID.2876 Page 4 of 6




   1             7) Exhibit 5 attached to the Houchin Declaration;
   2             8) Exhibit 7 attached to the Houchin Declaration;
   3             9) Exhibit 8 attached to the Houchin Declaration;
   4            10) Exhibit 9 attached to the Houchin Declaration;
   5            11) Exhibit 10 attached to the Houchin Declaration;
   6            12) Exhibit 12 attached to the Houchin Declaration;
   7            13) Exhibit 13 attached to the Houchin Declaration;
   8            14) Exhibit 14 attached to the Houchin Declaration;
   9            15) Exhibit 15 attached to the Houchin Declaration;
  10            16) Exhibit 16 attached to the Houchin Declaration;
  11            17) Exhibit 17 attached to the Houchin Declaration;
  12            18) Exhibit 18 attached to the Houchin Declaration;
  13            19) Exhibit 19 attached to the Houchin Declaration;
  14            20) Exhibit 20 attached to the Houchin Declaration;
  15            21) Exhibit 24 attached to the Houchin Declaration;
  16            22) Exhibit 26 attached to the Houchin Declaration;
  17            23) Exhibit 27 attached to the Houchin Declaration;
  18            24) Exhibit 31 attached to the Houchin Declaration;
  19            25) Unredacted Memorandum of Points and Authorities in Support of
  20              Plaintiffs’ Motion for Class Certification.
  21   See Declaration of Michael T. Houchin filed concurrently herewith (“Houchin Seal
  22   Decl.”), ¶ 2.
  23         Marriott has designated Exhibits 1, 2, 3, 5, 7, 8, 9, 12, 13, 14, 15, 16, 17, 18,
  24   19, 20, 24, 26, 27, and 31 to the Houchin Declaration as “Confidential” pursuant to
  25   the Stipulated Protective Order that was under in this action. Houchin Seal Decl., ¶
  26   3. The Unredacted Memorandum of Points and Authorities in Support of Plaintiffs’
  27   Motion for Partial Summary Judgment, the Unredacted Statement of Undisputed
  28   Material Facts in Support of Plaintiffs’ Motion for Partial Summary Judgment, the
                                                  -3-
                               Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
                                             PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
Case 3:19-cv-01715-JO-AHG Document 141 Filed 04/15/22 PageID.2877 Page 5 of 6




   1   Unredacted Houchin Declaration in Support of Plaintiffs’ Motion for Partial
   2   Summary Judgment, and the Unredacted Memorandum of Points and Authorities in
   3   Support of Plaintiffs’ Motion for Class Certification each discuss the contents of the
   4   exhibits to the Houchin Declaration that Marriott has designated as “Confidential.”
   5   Houchin Seal Decl., ¶ 4. Exhibit 10 to the Houchin Declaration is the expert report
   6   of Charlene L. Podlipna that discusses documents that have been designated by
   7   Marriott as “Confidential.” Houchin Seal Decl., ¶ 5.
   8         Plaintiffs’ counsel has exercised care to only redact information that has been
   9   deemed “confidential” by Marriott. Houchin Seal Decl., ¶ 6. On April 11, 2022,
  10   Plaintiffs’ counsel sent a list of documents to counsel for Marriott that Plaintiffs
  11   intend to rely upon in their Motion for Partial Summary Judgment and Motion for
  12   Class Certification. Plaintiffs’ counsel requested that Marriott remove its
  13   confidentiality designations from these documents. Houchin Seal Decl., ¶ 7. On
  14   April 13, 2022, Marriott responded “given we have no knowledge of what you are
  15   intending to use from the depositions of Marriott witnesses in this case, and the
  16   financial documents you sent us along with other very confidential information on
  17   Marriott’s robust resort fee program, we cannot agree to lift or waive the
  18   confidentiality provisions in place for this matter.” Houchin Seal Decl., ¶ 7.
  19         Plaintiffs’ counsel has no personal knowledge as to why the documents that
  20   are the subject of this Motion should be kept under seal. Houchin Seal Decl., ¶ 8.
  21   However, because Marriott has designated the documents and information as
  22   “Confidential” under the Protective Order, Plaintiffs are obligated to file such
  23   documents under seal. Dkt. No. 44.
  24                              IV.       CONCLUSION
  25         For the foregoing reasons, Plaintiffs respectfully ask that this Court deny their
  26   Motion to File Documents Under Seal. Alternatively, the Court should issue an
  27   Order to Show Cause to Marriott requesting that it set forth “compelling reasons” to
  28   seal the documents that are the subject of this Motion.
                                                 -4-
                              Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
                                            PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
Case 3:19-cv-01715-JO-AHG Document 141 Filed 04/15/22 PageID.2878 Page 6 of 6




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   2
       DATED: April 15, 2022                Respectfully submitted,
   3
   4
                                            /s/ Michael T. Houchin
   5                                        LAW OFFICES OF RONALD A.
   6                                        MARRON
                                            RONALD A. MARRON (SBN 175650)
   7                                        ron@consumersadvocates.com
   8                                        MICHAEL T. HOUCHIN (SBN 305541)
                                            mike@consumersadvocates.com
   9
                                            LILACH HALPERIN (SBN 323202)
  10                                        lilach@consumersadvocates.com
  11                                        651 Arroyo Drive
                                            San Diego, California 92103
  12                                        Telephone: (619) 696-9006
  13                                        Facsimile: (619) 564-6665
  14                                        LAW OFFICE OF ROBERT L. TEEL
  15                                        ROBERT L. TEEL
  16                                        lawoffice@rlteel.com
                                            1425 Broadway, Mail Code: 20-6690
  17                                        Seattle, Washington 98122
  18                                        Telephone: (866) 833-5529
                                            Facsimile: (855) 609-6911
  19
  20                                        BURSOR & FISHER, P.A.
                                            L. Timothy Fisher (SBN 191626)
  21
                                            Sean L. Litteral (SBN 331985)
  22                                        1990 N. California Blvd., Suite 940
  23                                        Walnut Creek, CA 94596
                                            Telephone: (925) 300-4455
  24                                        Facsimile: (925) 407-2700
  25                                        E-mail: ltfisher@bursor.com
                                                    slitteral@bursor.com
  26
                                            Attorneys for Plaintiffs and the Proposed
  27                                        Classes
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                           Hall v. Marriott International, Inc., Case No. 3:19-cv-01715-JO-AHG
                                         PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
